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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219
                                        www.ca4.uscourts.gov

                                              July 29, 2024

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                                  TENTATIVE CALENDAR ORDER
                                   ____________________________

        No.    23-1850 (L),         Honeywell International, Inc. v. OPTO Electronics Co.,
                                    Ltd.
                                    3:21-cv-00506-KDB-DCK

              This case is tentatively calendared for in-person oral argument during the

        October 29-November 1, 2024, oral argument session in Richmond, Virginia.

              Any motions that would affect the scheduling of argument, including

        motions to submit on the briefs, must be filed by 08/05/2024, or counsel must

        show that relief could not have been requested by that date. Motions must state

        whether opposing counsel consents to the requested relief.

              Any conflicts that would affect the scheduling of argument and any

        additional cases counsel is tentatively scheduled to argue during this session must

        be identified by filing a Notice Regarding Conflict with Proposed Argument Dates

        (form available at www.ca4.uscourts.gov/court-form-fees) by 08/05/2024. The

        form should not be filed if counsel is available throughout the session and is

        arguing this case only.
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              The court requires a total of four paper copies of all briefs and appendices

        filed by counsel in cases that are tentatively calendared for oral argument. If you

        previously filed one copy of your brief or appendix, you must now file three

        additional copies within 7 days of this notice. If you previously filed three

        additional copies in response to an earlier tentative calendar order, no additional

        copies are required. If you have not yet filed your brief, you must file four paper

        copies and an electronic copy at the time of filing. The paper copy requirement

        applies to any briefs and appendices filed by counsel but not to pro se briefs. Paper

        copies must be identical as to cover, binding, page numbering, and formatting must

        match the electronic copy, and must comply with the Fourth Circuit Brief and

        Appendix Requirements. No ECF entry is made by counsel when filing paper

        copies of previously filed briefs and appendices.

              Counsel will be notified either that the case has been scheduled for a date

        certain during the session or continued to the next available session. The identity of

        the panel hearing a case is not disclosed until the morning of argument.

              For questions regarding scheduling of argument, please call 804-916-2714.

        For questions regarding required copies of briefs and appendices, please call 804-

        916-2700.

                                         /s/ NWAMAKA ANOWI, CLERK
                                         By: Naeemah Sims, Calendar Clerk
